




Dismissed and Memorandum Opinion filed July 30, 2009








Dismissed
and Memorandum Opinion filed July 30, 2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00545-CV

____________

&nbsp;

DAVID SWABB, Appellant

&nbsp;

V.

&nbsp;

JANIE GUERRA SWABB, Appellee

&nbsp;

&nbsp;



&nbsp;

On Appeal from the
246th District Court

Harris County,
Texas

Trial Court Cause
No. 2003-53142

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N








This is
an appeal from a judgment signed March 13, 2009.&nbsp; The notice of appeal was
filed June 11, 2009.&nbsp; To date, our records show that appellant has neither
established indigence nor paid the $175.00 appellate filing fee.&nbsp; See
Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent); Tex. R. App. P. 20.1 (listing
requirements for establishing indigence); see also Order Regarding Fees
Charged in Civil Cases in the Supreme Court and the Courts of Appeals and
Before the Judicial Panel on Multidistrict Litigation, Misc. Docket No. 07-9138
(Tex. Aug. 28, 2009) (listing fees in court of appeals); Tex. Gov=t Code Ann. ' 51.207 (Vernon
2005) (same). 

After being given the requisite notice that this appeal was
subject to dismissal, appellant
has not paid the filing fee.&nbsp; See Tex. R. App. P. 42.3(c) (allowing
involuntary dismissal because appellant failed to comply with order or notice
from clerk requiring response or other action within specified time). 

In
addition, no clerk=s record has been filed.&nbsp; The clerk responsible for preparing
the record in this appeal informed the court that appellant did not make
arrangements to pay for the record.&nbsp; Notification was transmitted to all
parties of the court=s intention to dismiss the appeal for want of prosecution
unless appellant paid or made arrangements to pay for the record and provided
this court with proof of payment within fifteen days.&nbsp; See Tex. R. App.
P. 37.3(b) (allowing involuntary dismissal when no clerk=s record has been filed due to
appellant=s fault).&nbsp; Appellant filed no response.

Accordingly,
the appeal is ordered dismissed.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices Anderson, Guzman and
Boyce.&nbsp; 

&nbsp;





